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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                            )
                                                     )
                 Plaintiff,                          )
                                                     )
         v.                                          )        Criminal Action No. 16-61-GMS
                                                     )
JOSHUA RUTHERFORD,                                   )
                                                     )
                 Defendant.                          )


                                             MEMORANDUM

I.       INTRODUCTION

         Before the Court is Defendant Joshua Rutherford's ("Rutherford") Motion to Dismiss

Indictment and Compel Discove!Y of Rationale for Federal Prosecution. (D.I. 42.) 1 Rutherford

moves to dismiss the charges or, in the alternative, compel the government to explain its rationale

for charging him and hold an evidentiary hearing. For the reasons that follow, the court will deny

the motion.

II.      BACKGROUND

         This case arises out of a Delaware State Police Child Predator Task Force investigation.

On February 15, 2016, an undercover officer for the Delaware State Police ("UC") posted an

advertisement in the casual encoun.ters section of an online classifieds website, entitled "faniily

love-no limits - m4m." (D.I. 43, Government Ex. A.)                     On February 16, 2016, Rutherford

responded to the advertisement that sought another male interested in incest. (D.I. 43 at 2.) The

UC, posing as a "father," explained to Rutherford that he was interested in watching Rutherford

have sex with his fictitious 14-year-old daughter. (Id.) Over the course of the next several weeks,


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            The government filed a brief opposing the Motion to Dismiss on July 6, 2017. (D.I. 43.) Rutherford did
not file a reply brief.
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Rutherford and the UC communicated via text message. These sexually explicit conversations led

up to a planned meeting at Tidbury Park in Dover, Delaware where Rutherford was supposed to

meet the "father" and his fictitious daughter for a potential sexual encounter. (D.I. 42 if 2.) On

March 11,2016, Rutherford left his job at Smyrna High School, where he worked as a teacher and

assistant track coach, to drive to the-designated meeting location in Dover, Delaware. (D.I. 43 at

4.) Delaware State Police Officers arrested Rutherford upon his arrival to Tidbury Park. (D.I. 42

if 3.) Rutherford was charged with one count of Sexual Solicitation of a Child in violation of 11
Del. C. § 1112A and one count of Attempted Possession of Child Pornography in violation of 11

Del. C. § 111. (Id.   if 4)
       Thereafter, on June 28, 2016, a grand jury in the United States District Court for the District

of Delaware returned a four-count Indictment charging defendant Rutherford with: (1) two counts

of Notice Seeking Child Pornography in violation of 18 U.S.C. 2251(d); and (2) two counts of

Attempted Inducement of a Minor to Engage in Unlawful Sexual Activity in violation of 18 U.S.C.

2422{b). On October 20, 2016, Rutherford's state sexual offense charges were dismissed in

Delaware state court. (D.I. 42·if 12.)

III.   APPLICABLE LAW

       "In our criminal justice system, the Government retains 'broad discretion' as to whom to

prosecute." Wayte v. United States, 470 U.S. 598, 607 (1985) (quoting United States v. Goodwin,

457 U.S. 368, 380 n.11 (1982)). Indeed, it is accepted that judicial supervision or review of the

government's exercise of its "prosecutorial discretion" is generally inappropriate. Id. at 607-08.

Nonetheless, while this discretion is broad, "it is not unfettered." Id. at 608. Thus, the Supreme

Court has applied a "presumption of regularity" to the government's prosecutorial decisions.

United States v. Armstrong, 517 U.S. 456, 464 (1996) ("[I]n the absence of clear evidence to the




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contrary, courts presume that they have properly discharged their official duties." (citing United

States V. Chem. Found., Inc., 272 U.S. 1, 14-15 (1926))). This presumption may be overcome by

a showing that "the administration of a criminal law is directed so exclusively against a particular

class of persons ... with a mind so unequal and oppressive that the system of prosecution amounts

to a practical denial of equal protection of the law." Id. at 464-65 (internal quotation marks

omitted).

         To establish a claim of selective prosecution, the defendant must prove (1) discriminatory

effect and (2) discriminatorypurpose. See Armstrong, 517 U.S. at 465-66; United States v. Taylor,

686 F.3d 182, 196-97 (3d Cir.2012). To establish a discriminatory effect, the claimant must show

that a similarly situated person has not been prosecuted.         Id.; Taylor, 686 F.3d at 197.

Discriminatory purpose is satisfied where the defendant proves the government's decision to

prosecute based on "an unjustifiable standard, such as race, religion, or some other arbitrary

factor." Id. (internal citation omitted). Criminal defendants must present "clear evidence" to

dispel the regularity presumption. Armstrong, 517 U.S. at 465.

         To compel discovery, the defendant must present "some evidence tending to show the

existence" of both discriminatory intent and discriminatory effect. United States v. Hedaithy, 392

F.3d 580, 607 (3d Cir. 2004). Such evidence must make a "credible showing." Id.; see also

Armstrong, 517 U.S. 456 at 470.

IV.      DISCUSSION

         In his motion to dismiss the federal indictment, Rutherford argues that the decision to

prosecute him in federal court, rather than Delaware state court, was discriminatory and therefore

an unconstitutional selective prosecution in violation of his 5th Amendment right to due process

and equal protection under the law. (D.I. 42 if 26.) Here, Rutherford fails on both prongs necessary




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to support a finding of selective prosecution. First, Rutherford generally argues that discriminatory

effect exists because "similarly situated school teachers and persons in positions of trust" in

substantially similar cases could have been prosecuted federally, but were not. (D.I. 42 if 43). In

support of this claim, Rutherford points out the disparity in the penalties Rutherford faces

compared to the penalties faced and the actual sentences received by school teachers in five

Delaware state court cases in which defendants were teachers prosecuted for sexual abuse .or

solicitation of a minor. 2 •3 (Id.   if 20-21.)
         Rutherford cites three additional cases to demonstrate discriminatory effect. First, State of

Delaware v. Daniel G. Simmons involved a former Deputy Attorney General who received a

sentence of 18 months incarceration after pleading guilty in Delaware Superior Court to having

sexual relations with a 16-year-old high school student. (Id.              if 22.)   Second, United States      v: Lee
Robert Moore involved a White House Secret Service Agent who was apprehended by Delaware

State Police Child Predator Task Force after participating in an on-line chat with .an undercover

detective posing as a 14-year-old girl. (Id.        if 23.)    Moore pleaded guilty in federal court to a singl~

count of Attempted Inducement of a Minor to Engage in Unlawful Sexual Activity in violation of

U.S.C. § 2422. Finally, State of Delaware v. Barry Cooper involved a defendant investigated by

Delaware State Police Child Predator Task Force. Rutherford asserts that this case is "virtually

identical to [his] case factually, yet the Cooper case remained in Delaware state court for

prosecution." (D.I. 42 'if 24-25.)


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           In Delaware state court, Rutherford would have faced a mandatory minimum of 2 years and up to 25 years
of incarceration for Sexual Solicitation of a Child, and 0 to 3 years of incarceration for Attempted Possession of Child
Pornography. (D.I. 42 '1J 14; see 11 Del. C. § 4205(b)(2) & (6).) In federal court, Rutherford faces a mandatory
minimum of 10 years and up to life imprisonment for Attempted Inducement of a Minor to Engage in Unlawful Sexual
Activity, and a mandatory minimum of 15 up to 30 years of incarceration for Notice Seeking Child Pornography. (Id.;
see 18 U.S.C. § 2422(b), § 2251 (d).)
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           To this end, Rutherford attached exhibits containing reports or information regarding sentences imposed
by the State of Delaware on individuals facing state charges for child pornography and sexual offenses. (D.I. 42,
Ex. B-F.)                                                     .


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       The court finds that Rutherford has failed to make a credible showing that similarly situated

individuals were spared federal prosecution. Taylor, 686 F.3d at 197. United States v. Schmutzler,

602 F. App'x 871, 874 (3d Cir. 2015) provided that the defendant must make a credible showing

of the folloWing: individuals who (1) were punishable by federal law; (2) were implicated in the

same or a similar federal investigation as defendant; (3) faced federal prosecution; and (4) were

spared prosecution. Rutherford has failed to meet this test. The court agrees, as the government

argues, that none of the state prosecutions presented by Rutherford are "alike in .all relevant

aspects" to the present case. (D.I. 43 at 10.) .First, Rutherford did not adduce evidence of federal

involvement in the Cited state cases involving school teachers, specifically whether the State of

Delaware sought to refer prosecution to the federal government. Second, none of the three cases

Rutherford .cited in which the defendants are not school teachers support a finding of

discriminatory effect. Moore is the only case cited that involved a federal investigation resulting

inthe federal government's prosecution of the defendant. (D.I. 42 ·ir 23.) Therefore, reliance on

this case is misguided.      Contrary to Rutherford's contentions, the Cooper case is also

distinguishable because, there, the defendant was neither a school teacher nor the subject of a

federal investigation. Rutherford has failed to meet his burden as to the first prong.

       In addition, even if Rutherford could establish the discriminatory effect, he has failed to

demonstrate that the government's decision to prosecute him was directed to a discriminatory

purpose. Rutherford does not contend that this prosecution was mounted against him because of

his race, religion, national origin, gender, or exercise of some constitutional right. See Gov 't of

the Virgin Islands v. Harrigan, 791 F.2d 34, 36 (3d Cir. 1986); see also Taylor, 686 F.3d at 197-

98. Rutherford was a school teacher and, as such, had enhanced access to children. It seems it




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was this fact that attracted the federal government's interest in him. 4 Absent evidence other than

the kind of mere speculation in which defendant engages in his motion, given the nature of the

crimes alleged, the court is hardly inclined to conclude that this case involved anything other than

a "regular exercise" of prosecutorial discretion.

V.      CONCLUSION

        For the foregoing reasons, the court will deny Rutherford's Motion to Dismiss the

Indictment and Compel Discovery. (D.I. 42.)



Dated: August     ___Jj_, 2017




        4 In an email correspondence with Rutherford's attorney, the government set forth its rationale for charging

Rutherford:

          In Mr. Rutherford's case, he was a high school teacher who used an online application to seek
          out pornographic pictures of two high-school-aged girls (one real and one an undercover officer).
          Furthermore, Mr. Rutherford scheduled a time and place to meet someone he believe to be a
          high-school-aged girl for the purpose of engaging in sexual activity, bought condoms in
          preparation for such, and arrived at the arranged time and place with the condoms. Last, Mr.
          Rutherford's description of his past sexual encounter with a third, real high-school-aged girl
          bore no resemblance to puffery but appeared candid.
(D.I. 43, Government Ex. G.)


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